Case 2:04-CV-02417-.]DB-STA Document 71 Filed 07/01/05 Page 1 of 3 Page|D 93

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FoR THE wESTERN DIsTRICT oF TENNESSEE 2805 JUH 30 PH 3= 22

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soNs ELECTRIC, INC., ) W/U OF 151 115511”1513
)
Plaintirr, )
)
v. ) No. 04-2417 B/An
)
BENICORP INSURANCE Co., )
)
Defendant. )

 

ORDER DENYING MOTION FOR LEAVE TO SUBMIT REPLY

 

Before the Court is Defendant’s Unopposed Motion for Leave to File a Reply filed on
June 24, 2005 . On June 27, 2005, the Court entered an Order Granting Defendant’s Unopposed
Motion for Leave to File a Reply.l Therefore, the Motion seeking the Court’s permission to file a
Reply Brief is DENIED as moot.

IT IS SO ORDERED.

/§%m/@&J

s. THOMAS ANDER§oN
UNITED sTATES MAGISTRATE JUDGE

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Date: 50
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1The June 27, 2005 Order corresponds to the Unopposed Motion to File a Reply located at docket entry 66.
The instant motion corresponds to the Unopposed Motion to File a Reply located at docket entry 69.

 

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This notice confirms a copy of the document docketed as number 71 in
case 2:04-CV-02417 Was distributed by faX, mail, or direct printing on
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sssEE

 

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Honorable J. Breen
US DISTRICT COURT

